       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 1 of 12




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                       :
             v.                        :       Case No. 21-CR-725 (RDM)
                                       :
JARED KASTNER,                         :
                                       :
                   Defendant.          :


        DEFENDANT’S RESPONSE TO THE COURT IN SUPPORT OF
            DEFENDANT’MOTION TO MODIFY CONDITIONS
                ON SECOND AMENDMENT GROUNDS


      COMES NOW, the Defendant, Jared Kastner, by and through counsel, and

herewith respectfully files his RESPONSE to the Court’s inquiry.

      The Court by the Honorable Judge Randolf D. Moss, District Court Judge,

ordered by Minute Order:

          On or before April 18, 2023, Defendant Kastner shall file a
          response to the arguments made in the Government's filing at
          Dkt. [101], including that (1) the appeal is untimely; and (2)
          the Magistrate Judge's order should be affirmed on its merits.
          Signed by Judge Randolph D. Moss on 4/12/2023. (lcrdm2)


      The Defendant, by counsel, believes that he has adequately briefed most of

these issues but appreciates the opportunity for the Court to make sure that all

information is before the Court. Accordingly, Defendant responds to the Court’s

Minute Order as follows:


                                           2
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 2 of 12




      First, as to the timeliness of the appeal from the Order of the Magistrate to

the District Court:

          • The Honorable Moxila A. Upadhyaya, U.S. Magistrate Judge, issued

             an Order on March 16, 2023.

          • Starting with the day after the triggering event, an appeal (if any) was

             due 14 days later on Friday, March 31, 2023.

          • Defendant by counsel filed his appeal from the Magistrate Judge’s

             Order on Sunday, April 2, 2023.

          • Defendant by counsel filed a motion for an extension of time on April

             3, 2023, asking for an extension of 7 days which would make the new

             deadline April 10, 2023.

          • However, if the District Court is not satisfied with the above-

             mentioned response there is good cause for the untimely appeal based

             on a trojan virus and malware which was sent to Defendant’s counsel

             during discovery which disabled staff member’s laptops and resulted

             in significant delays to file the appeal.

          • Furthermore, due to excusable neglect and/or good cause Rule

             4(b)(4)’s Motion for Extension of Time permits Defendant’s

             “untimely” appeal:



                                           3
      Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 3 of 12




         “Upon a finding of excusable neglect or good cause, the district
         court may — before or after the time has expired, with or without
         motion and notice — extend the time to file a notice of appeal for a
         period not to exceed 30 days from the expiration of the time
         otherwise prescribed by this Rule 4(b).”

      Second, as should be clear, Defendant Kastner is vindicating in effect not

only his own rights under the Second Amendment to the U.S. Constitution but also

his wife’s Second Amendment rights.

         • As the Court has been fully briefed, the problem is that his wife with

            whom he lives in the same residence owns firearms, but Defendant

            Kastner does not (since January 6, 2021, events).

         • Therefore, past precedents and practice are inapplicable and

            inapposite where the conditions of release forbidding the Defendant

            from owning a firearm have been transformed into imposing his

            uncharged wife with a prohibition to own a firearm.

         • In effect, in violation of public policy and in a clash between fully-

            recognized constitutional rights (one explicit as to the Second

            Amendment the other implied as to the privacy of marriage as

            decisively upheld in Obergefell v. Hodges, 576 U.S. 644 (2015)), the

            Court’s bail restrictions would require Defendant to choose between

            two fundamental constitutional rights: (a) living with his wife in the




                                         4
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 4 of 12




            same residence or (b) his liberty interests by giving up his Second

            Amendment rights.

         • The only way that Defendant Kastner can comply with the pre-trial

            bail restrictions is to separate from his wife, or worse.

         • And the Court is in effect denying his wife her Second Amendment

            rights even though she has been charged with no crime.

         • This irreconcilable conflict between constitutional rights is (a)

            different from past precedents or practice and (b) an intolerable

            infringement of those rights.

      Third, clearly the Defendant desires, as is his right to argue for an extension

or overturning of existing precedent.

      Fourth, this effort to argue for an extension or overturning of existing

precedent was triggered by precedents outside of Defendant Kastner’s initiative.

As Kastner explained to the Court, case in September 2022 just ruled that even on

felony charges a defendant presumed innocent awaiting trial cannot constitutionally

have their second amendment rights infringed.

          “However, each time Kastner has raised this issue, it is now
          and has been due to legal developments external to him and
          this case.

          In United States v. Quiroz, 2022 WL 4352482 (W.D.Tx 2022),
          on or about September 20, 2022, the U.S. District Court for
          the Western District Court of Texas, Pecos Division, struck
          down sections of 18 U.S.C. §922 as unconstitutional. See
                                          5
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 5 of 12




           Derek Hawkins, “U.S. can’t ban gun sales to people indicted
           on felony charges, judge says,” Washington Post, Sept. 20,
           2022,
           (https://www.washingtonpost.com/nation/2022/09/20/texas-
           gun-ban-indictment.

That ruling is on appeal to the U.S. Court of Appeals for the Fifth

Circuit. The legal developments of recognizing the Second Amendment

to the U.S. Supreme Court are changing rapidly since District of

Columbia v. Heller, 554 U.S. 570 (2008), which seemingly accelerated

just in the last couple of years.


      As the Defendant explained:

           [T]he U.S. the Supreme Court's ruling in N.Y. State Rifle &
           Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, 2130, 2134, 213
           L.Ed.2d 387 (June 23, 2022) changed the applicable
           framework for analyzing firearm regulations under the Second
           Amendment. Therefore, Kastner asserts that the framework
           constitutional law and legal principles governing the instant
           question of a condition on Defendant’s release on bail
           awaiting trial have shifted underneath the current status and
           order. Kastner and his counsel sincerely believe they would
           be lacking in diligence by not exhausting every step in
           claiming his rights.

      Fifth, the biggest question lies in the recent Bruen and Quiroz cases. The

Government includes its brief in a Ninth Circuit U.S. Court of Appeals case,

attached as Exhibit 101-3, United States of America v. John Fencl, Record No. 22-

50316. However, Fencl like Quiroz both involved pending felony criminal charges.

Kastner is charged only with misdemeanors, none of which involve any violence.
                                          6
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 6 of 12




Clearly balancing of these factors is to some extent the nature of this inquiry.

Additionally, neither Fencl nor Quiroz burdened the Second Amendment rights of

other, innocent, uncharged parties.

      The Government is correct that Kastner has acknowledged that the Second

Amendment might be subject to “reasonable restrictions” but that was intended to

address circumstances where a Defendant indicates risks of actual violence, is

accused of a crime of violence, or has a history of violence. Bail of course rests on

two main issues: The likelihood to show up for trial and any danger to the public

or oneself. Here, however, there was no suggestion that Kastner would be a danger

to anyone. Thus, the current motion is a result of a recent change in the law, at

least persuasive authority at this point, and a change of the law that Kastner would

like to make sure he will be able to avail himself of after any appellate

developments.

      Previously, in Kastner’s Motion To Reconsider Order Denying Defendant’s

Motion To Review Condition Of Release on April 13, 2022, at Dkt. # 37, Kastner

was responding to decisions of District Court judges in related cases that had

recently occurred as of that filed:

      In two other January 6 cases, judges of this Court lifted restrictions on

firearms.




                                          7
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 7 of 12




      In United States v. Tina Logsdon, 22-cr-722-01 (TFH), Judge Thomas F.

Hogan had recently lifted the restriction on firearms possession for that defendant.

Ms. Logsdon, like Defendant Kastner, has no criminal record, is charged with the

same non-violent misdemeanors as the defendant, legally possesses her firearm. It

is for her protection and that of her family. The government in the Logsdon case,

upon reviewing her motion to lift the restriction, agreed that a

          “... modification of the pretrial firearms restriction is justified
          in this case. Ms. Logsdon is not charged with any crimes of
          violence and has no violent criminal history. Ms. Logsdon is
          not required to meet with Pretrial Services in person at this
          time. Ms. Logsdon has asserted that she wishes to possess a
          firearm in her home while her husband works overnight and
          Ms. Logsdon is at home with their children. Ms. Logsdon has
          an Illinois permit to possess a firearm in her home. Based on
          those unique circumstances, the parties agree that a
          modification of the condition can be imposed here. The parties
          agree that Ms. Logsdon should not possess any firearm other
          than her own personal firearm in her residence for personal
          protection, and not possess any other weapon or destructive
          device. If at any time Ms. Logsdon meets with Pretrial
          Services in person, she should not be allowed to possess her
          firearm during those visits.” (ECF Doc.18, 22-cr-23-01,

      Likewise, in United States v. Loruhamah Yazdani-Isfehani, 21-cr-543-03

(CRC), Judge Christopher R. Cooper lifted the restriction for a similarly-situated

defendant, keeping in place the restriction on other destructive devices and

weapons, and allowing the defendant to possess her firearm in her residence, for

her protection and that of her boyfriend’s children, who are frequent overnight



                                           8
          Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 8 of 12




guests. (Minute Order, April 5, 2022). There, too, the government did not oppose

lifting the restriction as to firearms kept in the residence for her protection.5

      Therefore, each renewed motion was based upon and triggered by changes

in the law in the form of precedents questioning the limitation of gun ownership

and possession as conditions upon release from incarceration on bail awaiting trial.

      Sixth, showing the opposite of what must have been intended, in its

Opposition at Dkt. #22, referred to and relied upon in its Opposition at Dkt. # 95,

the Government inadvertently proves how Kastner carefully complied with the

police:

            He entered the Capitol building just minutes after the initial
            breach of the building. And instead of leaving when he
            encountered a line of law enforcement officers attempting to
            stop the rioters from progressing into the building, Kastner
            remained inside. He witnessed the mob push past the line of
            law enforcement officers and watched the mob continue into
            the building.

      So, the Government admits that a line of law enforcement officers inside the

Capitol showed a line beyond which people were not allowed to progress. Yet, the

Government admits that Kastner respected and complied with the line of police

officers. The Government appears to be trying to charge many January 6

Defendants with “criminal watching.” Kastner – the Government tells us –

watched other people push past the line of law enforcement officers, something

Kastner (they say) did not do.


                                           9
       Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 9 of 12




      Therefore, the Government round-about concedes that Kastner remained

peaceful and respectful, even if it is alleged that he ventured further than he should

have. The U.S. Capitol is always marbled with sections that are open to the public

and those that are for authorized personnel only. There have always been corridors

which tours of school children and tourists and citizen lobbyists may freely travel

in alongside corridors marked with tiny little wooden signs about waist high saying

Authorized Personnel Only. Here, the Government contends that there was a line

of police indicating that demonstrators were not allowed to progress further – and

Kastner did not.

      However, the Government also persists in a fundamental mistake. On April

6, 2022, Judge Trevor McFadden provided a very interesting split decision,

including in United States v. Matthew Martin, Case No. 1:21-cr-00394, in this

District. Judge McFadden found Matthew Martin not guilty because the U.S.

Capitol Police had not given notice to the public of a restricted area under 18

U.S.C. 1752(a)(1) (that is, notice was not still visible after efforts by some to

remove barricades) and police officers did not express any discouragement of

Martin entering the Capitol. But McFadden found another Defendant had crawled

over walls and other obstructions to enter the Capitol. Thus, Judge McFadden

found, the second co-Defendant did not need to see signs posted to realize that he




                                          10
      Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 10 of 12




was not supposed to be entering the building, if he had to crawl over walls to do it.

The split decision strongly reveals the legal test that is important.

      However, the Government has stretched or misunderstood Judge

McFadden’s rulings. McFadden’s ruling was not that simply seeing other people

engaged in misconduct causes one to be guilty. Seeing guilt does not create guilt.

Seeing people brawling would lead a reasonable person to conclude that those

people will be arrested and the remainder of the crowd may continue to

demonstrate. Continuing to make this mistake, the Government wrongly thinks that

upon seeing police Americans are required to turn and flee. People who see a

scuffle are free to stand and watch.

      Seventh, finally, the Government argues at Dkt. #22, that, “ Kastner has

failed to provide a reason for needing a firearm. His employment does not require

him to possess a firearm, and he has made no argument regarding self-defense or

even recreation.” However, the Constitutional right to keep and bear arms is not

dependent upon a showing of “need,” any more than one’s “need” to Free Speech

must be shown before one may exercise their First Amendment rights. One does

not need to convince anyone, that one “needs” due process of law before one has a

right to it. The Bill of Rights is widely regarded as a restraint upon Government.

The Second Amendment like other rights is not based upon the divine favor of a

beneficent Government bestowing its grants of blessings upon its favorites. The


                                           11
      Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 11 of 12




need for a gun is overwhelmingly obvious as set out in the Second Amendment,

and it extends to every citizen in the United States of America

   I. CONCLUSION

      Thus, based on the above-mentioned arguments the appeal is not untimely

due to the previously filed motion to extend and good cause reasons provided; and

the Magistrate Judge's order should not be affirmed on its merits due to recent and

ongoing legal precedents. In the alternative, Defendant requests for a final

judgment on this issue or certification of an interlocutory appeal in order to

proceed with an appeal to the higher Courts. For the foregoing, reasons,

notwithstanding the Government’s Opposition, Defendant Kastner continues to

maintain that the Court should grant his appeal.

Dated: April 18, 2023


                                       /s/ John M. Pierce
                                       John M. Pierce
                                       JOHN PIERCE LAW
                                       21550 Oxnard Street 3rd Floor, PMB #172
                                       Woodland Hills, CA 91367
                                       jpierce@johnpiercelaw.com
                                       (213) 279-7846

                                       COUNSEL FOR THE DEFENDANT




                                          12
      Case 1:21-cr-00725-MAU Document 106 Filed 04/18/23 Page 12 of 12




                         CERTIFICATE OF SERVICE

      I hereby certify that on April 18, 2023, a true and accurate copy of the

forgoing was electronically filed and served through the ECF system of the U.S.

District Court for the District of Columbia.


                                   /s/ John M. Pierce
                                   John M. Pierce




                                         13
